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UNITED STATES BANKRUPTCY COURT                                      Hearing Date:
SOUTHERN DISTRICT OF NEW YORK                                         September 28, 2017 at 10:00am
--------------------------------------------------------------- x   Objection Deadline:
  In re                                                         :     September 21, 2017 at 4:00pm
                                                                :
  CLUB VENTURES INVESTMENTS LLC,                                :   Chapter 7
  d/b/a DAVID BARTON GYM, et al                                 :
                                                                :   Case No. 17-10060 (SHL)
                                     Debtor.                    :
                                                                :   Jointly Administered
--------------------------------------------------------------- x


           NOTICE OF MOTION FOR APPROVAL OF AGREEMENT BETWEEN
            TRUSTEE AND JPMORGAN CHASE BANK TO SET OFF AGAINST
             PREPETITION COLLATERAL RELATED TO ARCHIVE LEASE


         PLEASE TAKE NOTICE that a hearing (the “Hearing”) will be held before the

Honorable Sean H. Lane, United States Bankruptcy Judge, on September 28, 2017 at 10:00 a.m.,

or as soon thereafter as counsel may be heard, in the United States Bankruptcy Court for the

Southern District of New York (the “Bankruptcy Court”), One Bowling Green, Courtroom

701, New York, New York 10004, to consider the annexed motion (the “Motion”) of JPMorgan

Chase Bank, N.A. (“Chase”), pursuant to Sections 105 and 362(d)(1) and (2) of Title 11 of the

United States Code and Rules 9019 and 4001(a)(3) of the Federal Rules of Bankruptcy

Procedure, for approval of the stipulation and proposed order (the “Stipulation”) by and between

Yann Geron (the “Trustee”), chapter 7 trustee of Club Ventures Investments LLC d/b/a

DavidBartonGym and the above-captioned jointly administered debtors (collectively, the

“Debtors”)1 and Chase (Chase and the Trustee, the “Parties”), which Stipulation resolves all

pending disputes between the Parties by modifying the automatic stay to permit and authorize
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  The Debtors refer to DB 85 Gym Corp. (Case No. 16-13580), Club Ventures III, L.L.C. (Case
No. 16-13581), Club Ventures X, LLC (Case No. 16-13582), Club Ventures Archive LLC (Case
No. 16-13616), Club Ventures Limelight LLC (Case No. 16-13617), Club Ventures Miami LLC
(Case No. 16-13618), and Club Ventures Investments LLC (Case No. 17-10060), all of which
did business as DavidBartonGyms prior to their respective filings.
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Chase to apply and set off certain funds on account at Chase and pledged to Chase as collateral

for obligations of one of the Debtors in full settlement and satisfaction of all claims by Chase

against Club Ventures Archive, LLC under the LC Documents (as defined in the Motion).



       PLEASE TAKE FURTHER NOTICE that any responses or objections to the Motion

must (a) be made in writing; (b) state with particularity the grounds therefor; (c) conform to the

Federal Rules of Bankruptcy Procedure and the Local Rules of the Bankruptcy Court; (d) be

filed with the Bankruptcy Court (i) electronically in accordance with General Order M-399 by

registered users of the Bankruptcy Court’s case filing system, or (ii) by submission to the Clerk

of the Bankruptcy Court in accordance with Local Bankruptcy Rules 5005-1 and 9004-1 by all other

parties; (e) be submitted in hard-copy form directly to the chambers of the Honorable Sean H. Lane,

United States Bankruptcy Judge, at the Bankruptcy Court in accordance with Local Bankruptcy Rule

9070-1; and (f) be served upon (i) counsel to Chase, Teitelbaum Law Group, LLC, 1 Barker

Avenue, 3rd Floor, White Plains, New York 10601, Attn: Jay Teitelbaum, Esq., and (ii) special

counsel to the Trustee, Reitler Kailas & Rosenblatt LLC, 885 Third Avenue, 20th Floor, New

York, New York 10022, Attn: Yann Geron; and (iii) the Office of the United States Trustee for

the Southern District of New York, 201 Varick Street, Suite 1006, New York, New York 10014,

all so as to be received no later than 4:00 p.m. on September 21, 2017.



       PLEASE TAKE FURTHER NOTICE that the Hearing may be continued or adjourned

from time to time without further notice other than an announcement of the adjourned date or

dates at the Hearing or a later hearing.




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       PLEASE TAKE FURTHER NOTICE that you need not appear at the Hearing if you

do not object to the relief requested in the Motion.



Dated: White Plains, New York                 TEITELBAUM LAW GROUP, LLC
       August 28, 2017                        Attorneys for JPMorgan Chase Bank, N.A.



                                              By: /s/ Jay Teitelbaum
                                                     Jay Teitelbaum
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